Case 1:11-cv-00297-LMB-TCB Document 1-4 Filed 03/23/11 Page 1 of 6 PagelD# 8

Defendant’s Notice of Removal

 

Exhibit 1
 

Case 1:11-cv-00297-LMB-TCB Document 1-4 Filed Oa/2a/11 Page 2 Ore PagelD# 9

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VIRGINIA CIV ife KE
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2011 FEB.)
IN THE CIRCUIT COURT OF FAIRFAX COUNTY, _ M2: 03
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GREG STANTON ) FA Bere ‘ Ve OUR]
) ‘
Plaintiff, )
| J “
Vv. ) Case No. 2011 01425
) .
HUAWEI TECHNOLOGIES, CO., LTD. )
Serve: State Corporation Commission _)
Tyler Building )
1300 E. Main St. )
Richmond, Virginia 23219 )
)
Defendant. )
)
COMPLAINT

 

Plaintiff Greg Stanton (“Plaintiff’ and/or “Mr. Stanton”) hereby sues Defendant Huawei
Technologies, Co., LTD (“Defendant” and/or “Huawei”) for the breach of Mr. Stanton’s
employment and commission compensation agreement.

FACTS

1. Defendant Huawei is a leading telecom provider which focuses on with wireline,
wireless and IP technologies, its products and solutions have been deployed in over 100
countries and have served 45 of the world's top 50 telecom operators, as well as one third of the

- world's population. The Defendant had sales of over $ 149 billion in 2009 and gross profit of
over $58 billion. |

2. Jurisdiction is proper in Virginia under Va. Code § 8.01-262(3) as defendant

regularly and currently conducts substantial business activity herein.

3, Plaintiff began working for Huawei as an account manager in 2008.

 
Case 1:11-cv-00297-LMB-ICB Document 1-4 Pled Osea LT Page SOO Pagelbr TO

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4, Defendant agreed to pay Plaintiff compensation in the form of an annual salary
plus commissions based on revenue generated from the sales of products and services of the
company which Plaintiff generated.

5. In connection with the agreement to pay commissions to Plaintiff, Defendant
agreed to prepare annually and supply to Plaintiff on or about the commencement of each year a
Target Bonus Plan which set forth the terms under which the commission would be paid in the
during the year.

6. In 2009, Defendant provided Plaintiff a Target Bonus Plan and pursuant to which |
he received commission payout of $47,857.14 for commission for sales revenue which he
generated in the amount of $6.5 million.

7. Despite several requests Plaintiff was never provided with a written
commission/bonus plan for 2010.

8. In 2010, Plaintiff generated sales revenue of $20 million dollars in sales for
Defendant.

. 9. On June 30, 2010 Plaintiff submitted a letter of resignation with an effective date
of July 8, 2010. In that letter Plaintiff made a written demand for payment wages and
compensation due.

10. Despite generating sales in excess of $20 million, Defendant has refused to
provide Plaintiff with a commission check reflecting the reasonable value of his services.

11. Defendant failed to pay Plaintiff his wages and compensation due upon the next
regular payday.

12. _— Plaintiff at all times has at all times complied with all the terms and conditions of

his employment agreement.

 
13. Defendant Huawei has refused to provide Plaintiff with his rightful and
reasonable compensation and expense for his services to build, maintain and implement sales,
contracts and projects throughout the company.

COUNT I
(Unjust Enrichment/Quantum Meriut)

15. Plaintiff hereby reincorporates by reference paragraphs 1-14 herein.

16. In 2010, Plaintiff generated sales revenue of $20 million dollars in sales for
Defendant.

17. The reasonable value of Plaintiff's services is 3.5% of the sales revenue of
$20,000,000

18. Defendant Huawei has been unjustly enriched in the amount $700,000 consisting
of the commission due for the reasonable value of Plaintiff's services described above and the
benefits provided to the business from plaintiffs service to the business.

19. As adirect and proximate result of the refusal of said Defendant to provide
rightful and reasonable compensation for the services provided above, Plaintiff has been
damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Huawei for the relief set
forth below:

A. Awarding compensatory damages against Defendant, in favor of the

Plaintiff in an amount not less than $700,000;

B. Awarding Plaintiff costs and other disbursements of this suit, including
without limitation; and
Cc. Granting Plaintiff such other further relief as the Court may deem just and

proper.

 
 

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COUNT I
(Violation of C.RS.A. § 8-4-109)

20. Plaintiff hereby reincorporates by reference paragraphs 1-19 herein.

21. Pursuant to C.R.S.A. § 8-4-109, Plaintiff's wages or compensation became due
and payable upon the next regular payday.

22. Plaintiff made a demand for payment within sixty days of the date of separation.

23. In violation of C.R.S.A. § 8-4-109(3)(a.5) Defendant failed to respond within

' fourteen days of Plaintiff's demand.

24. Defendant sent notice to Plaintiff of compensation due Plaintiff on October 4,
2010 in the amount of $25,708.57. Defendant has failed to and refused to pay said sum amount
to Plaintiff.

25. Defendant has failed to provide legal tender of the amount that the employer
believes is due in the amount of $25,708.57 in violation of C.R.S.A. § 8-4-109(3)(d).

26. The sum of $25,708.57 set forth in the Notice of Sales Bonus Check is not the full
amount due. The full amount due to Plaintiff is $700,000. .

27.  Asadirect and proximate result of the refusal of said Defendant to provide
rightful and reasonable compensation for the services provided above, Plaintiff has been
damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Huawei for the relief set
forth below:

A. Awarding compensatory damages against Defendant, in favor of the

Plaintiff in an amount not less than $700,000;

 
 

Case 1:11-cv-00297-LMB-TCB Document 1-4 Filed 03/23/11 Page 6 of 6 PagelD# 13

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B. Awarding Plaintiff penalties in the amount of $7,500 pursuant to C.R.S.A.
§ 8-4-109(3)(b)() and penalties in the amount of $433,750 pursuant to C.R.S.A. § 8-4-
109(3)(b)(I); |

Cc, Awarding Plaintiff costs, and other disbursements of this suit, including
without limitation; and

D. Granting Plaintiff such other further relief as the Court may deem just and

proper.

Respectfully submitted,

 

1749 Old Meadow Road
Suite 308

McLean, VA 22102

Tel: 703-378-5000.
Facsimile: 703-448-4434

JURY DEMAND

Plaintiff hereby demands a jury on all issues and proceedings in which it is entitled to a jury.

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Nicholas H. mn

 
